

People v Hill (2022 NY Slip Op 02963)





People v Hill


2022 NY Slip Op 02963


Decided on May 03, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 03, 2022

Before: Manzanet-Daniels, J.P., Gesmer, Moulton, Mendez, Higgitt, JJ. 


Ind. No. 2757/16 Appeal No. 15869 Case No. 2019-4195 

[*1]The People of the State of New York, Respondent,
vRon Hill, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Harold V. Ferguson, Jr. of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Joshua P. Weiss of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Denis J. Boyle, J.), rendered March 11, 2019, convicting defendant, upon his plea of guilty, of petit larceny, and sentencing him to a term of one year, unanimously affirmed.
Defendant was convicted before the enactment of CPL 420.35(2-a), which permits the waiver of surcharges and fees for persons who, like defendant, were less than 21 years old at the time of the crime. We need not reach the question of whether this statute applies retroactively on appeal to defendant (see People v Utsey, 7 NY3d 398, 404 [2006]; People v Behlog, 74 NY2d 237, 239 [1989]) because, based on all of the circumstances, we do not find that vacatur of the surcharge and fees as a matter of
discretion in the interest of justice would be appropriate (see People v Nunez, 203AD3d476, [1st Dept 2022]; People v Escalona, 202 AD3d 451 [1st Dept 2022]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 3, 2022








